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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS

   RYAN, LLC,


                         Plaintiff,
             v.                                    Civil Action No. 3:24-cv-986-E

   FEDERAL TRADE COMMISSION,
                         Defendant.



     RYAN, LLC’S MOTION FOR STAY OF EFFECTIVE DATE AND
                  PRELIMINARY INJUNCTION

                   EXPEDITED TREATMENT REQUESTED

      Plaintiff Ryan, LLC (“Ryan”) files a motion for a stay of effective date and

preliminary injunction under Federal Rule of Civil Procedure 65 and states the

following:

      1.     Ryan seeks a stay of effective date and preliminary injunction in order

to prevent the irreparable harms detailed in the attached brief in support of this

motion. In particular, Ryan seeks an order staying the effective date of the Non-

Compete Clause Rule released by the Defendant Federal Trade Commission’s (“the

Commission”) and preliminarily enjoining the Commission from enforcing the Rule,

including, but not limited to, through any ongoing or future administrative action.

The Rule will be published on May 7, 2024, and take effect on September 4, 2024.



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      2.     As explained in the attached brief in support of this motion, the Court

should grant the motion because Ryan is likely to succeed on the merits, has

demonstrated irreparable harm, has shown that the balance of equities tilts in its favor,

and has shown that granting an injunction is in the public interest.

                                        Respectfully submitted,

Dated: May 1, 2024                            /s/ Allyson N. Ho

Allyson N. Ho                                 Eugene Scalia (pro hac vice)
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                       CERTIFICATE OF CONFERENCE

      I hereby certify that on April 30, 2024, Andrew Kilberg and Aaron Hauptman,

who are counsel for Plaintiff, conferred by telephone and email with Rachael

Westmoreland and Madeline McMahon, who are counsel for Defendant, regarding

Plaintiff’s intention to file this motion. No agreement could be reached by the

parties, and Defendant opposes Plaintiff’s motion for a stay and preliminary

injunction.



Dated: May 1, 2024                         Respectfully submitted,

                                           /s/ Andrew G. I. Kilberg
                                           Andrew G. I. Kilberg
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on May 1, 2024, I caused the foregoing motion to be filed

with the Clerk for the U.S. District Court for the Northern District of Texas through

the ECF system. Participants in the case who are registered ECF users will be served

through the ECF system, as identified by the Notice of Electronic Filing.



Dated: May 1, 2024                            Respectfully submitted,

                                              /s/ Allyson N. Ho
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